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In the Gunited States Court of Federal Claung

 

 

(Pro Se)
) No. 17-1440C
RUSSELL K. HILL, ) (Filed: November 17, 2017)
)
Plaintiff, ) FILE D
)
% ) NOY 17 2017
)
U.S. COURT OF
THE UNITED STATES OF AMERICA, FEDERAL CLAIMS
Defendant. )
)
ORDER

On October 10, 2017, the Court denied Mr. Hill’s application to proceed in forma
pauperis as barred by the in forma pauperis statute’s “three strikes rule.” Order, Docket No. 5. It
ordered Mr. Hill to pay the Court of Federal Claims’ $400 filing fee in full within thirty days,
i.e., by November 9, 2017, or else his case would be dismissed for failure to prosecute. Id. Mr.
Hill has not paid the filing fee. Therefore, pursuant to Rule 41(b) of the Rules of the Court of
Federal Claims, Mr. Hill’s complaint is DISMISSED without prejudice for failure to prosecute
and failure to comply with a court order. The Clerk is directed to enter judgment accordingly.

Each side shall bear its own costs.

IT IS SO ORDERED.

 

ELAINE D. KAPLAN
Judge

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